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                    Exhibit J
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PAUL J. FISHMAN
United States Attorney
DAVIDE. DAUENHEIMER
Assistant United States Attorney
970 Broad Street, Suite 700
Newark, New Jersey 07102
Tel.: (973) 645-2925
Fax: (973) 297-2094
E-mail: david.dauenheimer2@usdoj.gov

                     THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                        Honorable
 UNITED STATES OF AMERICA, THE
 COMMONWEALTHS OF
                                        Civil Action No. 14-8096
 MASSACHUSETTS AND VIRGINIA,
 THE STATES OF CALIFORNIA,
                                        fllill:QP88i'AlJ ORDER
 COLORADO, CONNECTICUT,
 DELAWARE, FLORIDA, GEORGIA,
 HAWAll, ILLINOIS,M INDIANA,            FILED UNDER SEAL
 IOWA, LOUISIANA, MARYLAND,
 MICHIGAN, MINNESOTA,
 MONTANA, NEVADA, NEW
 HAMPSHIRE, NEW JERSEY, NEW
 MEXICO, NEW YORK, NORTH
 CAROLINA, OKLAHOMA, RHODE
 ISLAND, TENNESSEE, TEXAS,
 WASHINGTON, WISCONSID, THE
 DISTRICT OF COLUMBIA, THE
 CITIES OF CHICAGO AND NEW
 YORK, ex rel.,

 JOHN DOE I AND JOHN DOE II
                  Plaintiffs/Relator,

              v.


 BOSTON SCIENTIFIC
 CORPORATION, MEDTRONIC, INC.,
 ST. JUDE MEDICAL, INC., and
 BIOTRONIK, INC.,

                     Defendants.
Case 1:14-cv-08096-RBK-JS
     Case 5:15-cv-06264-EGSDocument
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                                               ORDER

        The United States having declined to intervene in this action under the False Claims Act,

31 U.S.C. § 3730(b)(4)(B), and the named qui tam states of The Commonwealths of

Massachusetts and Virginia, The States of California, Colorado, Delaware, Florida, Georgia,

Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Michigan, Minnesota, Montana, Nevada,

New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhone

Island, Tennessee, Texas, Washington Wisconsin, The District of Columbia, The City of New

York having declined to intervene, the Court rules as follows:

        IT IS ORDERED that,

        1.      The complaint be unsealed and that the relator serve the complaint upon the

defendants;

        2.     All other contents of the Court's file in this action remain under seal and not be

made public or served upon the defendants, except for this Order and the Government's Notice

of Election to Decline Intervention, which the relator will serve upon the defendants only after

service of the complaint;

        3.     The seal be lifted as to all other matters occurring in this action after the date of

this Order;

        4.     The parties shall serve all pleadings and motions filed in this action, including

supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3), and

upon Mr. Zlotnick, Bureau of Medi-Cal Fraud and Elder Abuse, California Department of

Justice, 1455 Freeze Road, Suite 315, San Diego, CA 92108. The United States may order any

deposition transcript and is entitled to intervene in this action, for good cause, at any time;

       5.      The parties shall serve all notices of appeal upon the United States;



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       6.      All orders of this Court shall be sent to the United States; and that

       7.      Should the relator or the defendants propose that this action be dismissed, settled,

or otherwise discontinued, the Court will solicit the written response of the United States and

NAMFCU representative before ruling or granting its approval.

       8.      In accordance with the terms of the Maryland False Health Claims, Act, Md.

Code Ann., Health Gen,§ 2-604 (a)(7), the State of Maryland having declined to intervene in

this matter, all claims asserted on behalf of Maryland are hereby dismissed without prejudice.


       IT IS SO ORDERED,


       This       I 1,.   J.-         C'lt . . _
                                day of_~----~--, 2016
                                              a




                                                             ~/)~
                                                             HON. ~~b.~.....­
                                                             United States District Judge




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PAUL J. FISHMAN
United States Attorney
DAVIDE. DAUENHEIMER
Assistant United States Attorney
970 Broad Street, Suite 700
Newark, New Jersey 07102
Tel.: (973) 645-2925
Fax: (973) 297-2010
E-mail: david.dauenheimer2@usdoj.gov

                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA, THE                Honorable
 COMMONWEALTHS OF
 MASSACHUSETTS AND VIRGINIA, THE              Civil Action No. 14-8296
 STATES OF CALIFORNIA, COLORADO,
 CONNECTICUT, DELAWARE, FLORIDA,              FILED IN CAMERA AND UNDER SEAL
 GEORGIA, HAWAll, ILLINOIS,M
 INDIANA, IOWA, LOUISIANA,
 MARYLAND, MICHIGAN, MINNESOTA,
 MONTANA, NEVADA, NEW
 HAMPSHIRE, NEW JERSEY, NEW
 MEXICO, NEW YORK, NORTH
 CAROLINA, OKLAHOMA, RHODE
 ISLAND, TENNESSEE, TEXAS,
 WASHINGTON, WISCONSID, THE
 DISTRICT OF COLUMBIA, THE CITIES
 OF CHICAGO AND NEW YORK, ex rel.,

 JOHN DOE I AND JOHN DOE II

                    Plaintiffs and Relator,

              v.


 BOSTON SCIENTIFIC CORPORATION,
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                                  CERTIFICATE OF SERVICE

        I, hereby certify that on June 13, 2016, I caused a copy of (1) the United States of

America's Notice of Election to Decline Intervention, and (2) the Proposed Unsealing Order to

be sent via first-class mail, postage prepaid, to:

                                Joseph L. Messa, Jr., Esq.
                                Thomas N. Sweeney, Esq.
                                Claudine Q. Homolash, Esq.
                                MESSA & ASSOCIATEDS, P.C.
                                123 South 22nd Street
                                Philadelphia, PA 19103

                                        Counsel for Qui Tam Relator


        I swear that the foregoing statements are true and correct to the best of my ability and

knowledge. I am aware that I am subject to penalty of any willful misstatement herein.




                                                By:

Dated: June 13, 2016




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